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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                   EASTERN DIVISION

  UNITED STATES OF AMERICA,

  and

  DEANNA YARBROUGH,
  K.B., MINOR CHILD,
  AND K.Y., MINOR CHILD,

         Plaintiffs,

  v.                                                         Civil Action 1:18-cv-1249

  CHAD DAVID ABLES, D/B/A POPS COVE,

       Defendant.
 ___________________________________

        Members of the jury, it is now time for me to instruct you about the law that you

 must follow in deciding this case. I will start by explaining your duties and the general

 rules that apply in every civil case. Then I will explain the rules of law you must apply;

 i.e., what the Plaintiffs must prove to establish their position. Then I will explain some

 rules that you must use in evaluating particular testimony and evidence. And last, I will

 explain the rules that you must follow during your deliberations in the jury room, and the

 possible verdict that you may return. A copy of these instructions will be available for

 you in the jury room to consult if you find it necessary.

        Please listen carefully to everything in these instructions.
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                                   Your Duties as a Juror

        You have two main duties as jurors. The first is to decide what the facts are from

 the evidence you saw and heard here in court. Deciding what the facts are is your job,

 not mine, and nothing that I have said or done during this trial was meant to influence

 your decision about the facts in any way.

        Your second duty is to take the law that I give you, apply it to the facts, and

 decide if the Plaintiffs have proved their claims against the Defendant by a

 preponderance of the evidence. It is my job to instruct you about the law, and you are

 bound by the oath that you took at the beginning of the trial to follow the instructions that

 I give you, even if you personally disagree with them. This includes the instructions that

 I gave you before the trial, and these instructions. All the instructions are important, and

 you should consider them together as a whole.

        The lawyers have talked about the law during their arguments. But if what they

 said is different from what I tell you, you must follow what I say. What I say about the

 law controls.

        Perform these duties fairly. Do not let any bias, sympathy or prejudice that you

 may feel toward one side or the other influence your decisions in any way.




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                                     Evidence Defined

        You must make your decision based only on the evidence that you saw and

 heard here in court. Do not let rumors, suspicions, or anything else that you may have

 seen or heard outside of court influence your decision in any way.

        The evidence in this case includes the testimony of witnesses who have testified

 under oath, both in person and by deposition; the exhibits that I allowed into evidence;

 the stipulations that the lawyers agreed to; and the facts that I may have judicially

 noticed. Nothing else is evidence. The lawyers' statements and arguments are not

 evidence. Their questions and objections are not evidence. My legal rulings are not

 evidence. And my comments and questions are not evidence.

        During the trial I may not have let you hear the answers to some of the questions

 that the lawyers asked. I may also have ruled that you could not see some of the

 exhibits that the lawyers wanted you to see. And sometimes I may have ordered you to

 disregard things that you saw or heard, or I struck things from the record. You must

 completely ignore all of these things. Do not even think about them. Do not speculate

 about what a witness might have said or what an exhibit might have shown. These

 things are not evidence, and you are bound by your oath not to let them influence your

 decision in any way.

        Make your decision based only on the evidence, as I have defined it here, and

 nothing else.




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                                    Consideration of Evidence

 You should use your common sense in weighing the evidence. Consider it in light of

 your everyday experience with people and events, and give it whatever weight you

 believe it deserves. If your experience tells you that certain evidence reasonably leads

 to a conclusion, you are free to reach that conclusion.

        In our lives, we often look at one fact and conclude from it that another fact

 exists. In law we call this an "inference." A jury is allowed to make reasonable

 inferences, unless otherwise instructed. Any inferences you make must be reasonable

 and must be based on the evidence in the case.

        The existence of an inference does not change or shift the burden of proof from

 the Plaintiffs to the Defendant.




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                             Direct and Circumstantial Evidence

        There are two types of evidence which are generally presented during a trial –

 direct evidence and circumstantial evidence.

        Direct evidence is simply evidence like the testimony of an eyewitness which, if

 you believe it, directly proves a fact. If a witness testified that he saw it raining outside,

 and you believed him, that would be direct evidence that it was raining.

        Circumstantial evidence is simply a chain of circumstances that indirectly proves

 a fact. If someone walked into the courtroom wearing a raincoat covered with drops of

 water and carrying a wet umbrella, that would be circumstantial evidence from which

 you could conclude that it was raining.

        It is your job to decide how much weight to give the direct and circumstantial

 evidence. The law makes no distinction between the weight that you should give to

 either one, or say that one is any better evidence than the other. You should consider

 all the evidence, both direct and circumstantial, and give it whatever weight you believe

 it deserves.




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                                 Weighing Conflicting Testimony

       Although you must consider all of the evidence, you are not required to accept all

 of the evidence as true or accurate.

       You should not decide an issue by the simple process of counting the number of

 witnesses who have testified on each side. You must consider all the evidence in the

 case. You may decide that the testimony of fewer witnesses on one side is more

 convincing that the testimony of more witnesses on the other side.




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                                   Credibility of Witnesses

        Another part of your job as jurors is to decide how credible or believable each

 witness was. This is your job, not mine. It is up to you to decide if a witness's testimony

 was believable, and how much weight you think it deserves. You are free to believe

 everything that a witness said, or only part of it, or none of it at all. But you should act

 reasonably and carefully in making these decisions. Let me suggest some things for you

 to consider in evaluating each witness's testimony.


        Ask yourself if the witness was able to clearly see or hear the events. Sometimes

 even an honest witness may not have been able to see or hear what was happening, and

 may make a mistake.


        Ask yourself how good the witness's memory seemed to be. Did the witness seem

 able to accurately remember what happened?


        Ask yourself if there was anything else that may have interfered with the witness's

 ability to perceive or remember the events.


        Ask yourself how the witness acted while testifying. Did the witness appear

 honest? Or did the witness appear to be lying?


        Ask yourself if the witness had any relationship to the Plaintiffs or Defendant, or

 anything to gain or lose from the case that might influence the witness's testimony. Ask

 yourself if the witness had any bias, or prejudice, or reason for testifying that might cause

 the witness to lie or to slant the testimony in favor of one side or the other.




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        Ask yourself if the witness testified inconsistently while on the witness stand, or if

 the witness said or did something (or failed to say or do something) at any other time that

 is inconsistent with what the witness said while testifying. If you believe that the witness

 was inconsistent, ask yourself if this makes the witness's testimony less believable.

 Sometimes it may; other times it may not. Consider whether the inconsistency was about

 something important, or about some unimportant detail. Ask yourself if it seemed like an

 innocent mistake, or if it seemed deliberate.


        And ask yourself how believable the witness's testimony was in light of all the other

 evidence. Was the witness's testimony supported or contradicted by other evidence that

 you found believable? If you believe that a witness's testimony was contradicted by other

 evidence, remember that people sometimes forget things, and that even two honest

 people who witness the same event may not describe it exactly the same way.


        These are only some of the things that you may consider in deciding how

 believable each witness was. You may also consider other things that you think shed

 some light on the witness's believability. Use your common sense and your everyday

 experience in dealing with other people. And then decide what testimony you believe,

 and how much weight you think it deserves.




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                                 Number of Witnesses

       One more point about the witnesses. Sometimes jurors wonder if the number of

 witnesses who testified makes any difference.

       Do not make any decisions based only on the number of witnesses who testified.

 What is more important is how believable the witnesses were, and how much weight

 you think their testimony deserves. Concentrate on that, not the numbers.




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                                    Deposition Testimony

         Certain testimony has been presented by deposition. A deposition is testimony

  taken under oath before the trial and preserved in writing. You are to consider that

  testimony as if it had been given in court.




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                                       Lawyer’s Objections

         There is one more general subject that I want to talk to you about before I begin

  explaining the elements of the Plaintiffs’ claims. The lawyers for both sides may have

  objected to some of the things that were said or done during the trial. Do not hold that

  against either side. The lawyers have a duty to object whenever they think that

  something is not permitted by the rules of evidence. Those rules are designed to make

  sure that both sides receive a fair trial.

         And do not interpret my rulings on their objections as any indication of how I think

  the case should be decided. My rulings were based on the rules of evidence, not on

  how I feel about the case. Remember that your decision must be based only on the

  evidence that you saw and heard here in court.




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                                          Stipulation

         The Plaintiffs and the Defendant have agreed, or stipulated, to certain facts.

  Therefore, you must accept the stipulated facts set forth in exhibit 1 as proved.




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                                        Burden of Proof

         The burden is on the Plaintiffs in a civil action, such as this, to prove every

  essential element of their claims by a preponderance of the evidence. If the proof

  should fail to establish any essential element of the Plaintiffs’ claims by a

  preponderance of the evidence in the case, the jury should find for the Defendant on

  that claim.




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                               Preponderance of the Evidence

         To "establish by a preponderance of the evidence" means to prove that

  something is more likely so than not so. In other words, a preponderance of the

  evidence in the case means such evidence as, when considered and compared with

  that opposed to it, has more convincing force, and produces in your minds belief that

  what is sought to be proved is more likely true than not true. This rule does not, of

  course, require proof to an absolute certainty, since proof to an absolute certainty is

  seldom possible in any case. If the evidence on a particular issue appears to be equally

  balanced, the party having the burden of proving that issue must fail.

         In determining whether any fact in issue has been proved by a preponderance of

  the evidence in the case, the jury may, unless otherwise instructed, consider the

  testimony of all witnesses, regardless of who may have called them, and all exhibits

  received in evidence, regardless of who may have produced them.

     Those of you who have sat on criminal cases will have heard of proof beyond a

  reasonable doubt. That is a stricter standard, i.e., it requires more proof than a

  preponderance of evidence. The reasonable doubt standard does not apply to a civil

  case and you should therefore put it out of your mind.




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                                    Claims of the Plaintiffs

         The Attorney General of the United States has brought this action to enforce a

  federal civil rights statute commonly known as the Fair Housing Act. The purpose of the

  Fair Housing Act is to “provide . . . for fair housing throughout the United States.” 42

  U.S.C. § 3601. Among other things, the Fair Housing Act protects people from

  discrimination on the basis of race, national origin, sex, and other characteristics when

  they are renting or buying a home or engaging in other housing-related activities. This

  includes protecting people from being subjected to harassment through the creation of a

  hostile housing environment.

         Sex discrimination, which includes sexual harassment, is illegal under the Fair

  Housing Act. The Fair Housing Act also makes it illegal to coerce, intimidate, threaten,

  or interfere with any person on account of her exercising or enjoying any right granted

  or protected by the Fair Housing Act.

         In this case, the United States alleges that Defendant Chad David Ables violated

  the Fair Housing Act. Specifically, the United States alleges that Defendant Chad David

  Ables subjected female tenants and prospective tenants (meaning, individuals who

  sought housing from Defendant Chad David Ables) at residential rental properties he

  owned and managed to unwelcome, severe or pervasive sexual harassment, including

  creating a sexually hostile housing environment. The Attorney General brought this

  action on behalf of these tenants whom it alleges were victims of Defendant’s sexual

  harassment.

         In this case, the United States alleges that Defendant Chad David Ables

  engaged in what is called a “pattern or practice” of sex discrimination. The United



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  States alleges this pattern or practice includes sexual harassment of multiple female

  tenants and prospective tenants at rental properties the Defendant owned and managed

  by creating a hostile housing environment. The alleged pattern or practice also includes

  coercion, intimidation, threats, and interference with the housing rights of those tenants.

          The United States also alleges that Defendant Ables’ conduct constitutes a

  denial of rights granted by the Fair Housing Act to a group of persons, namely female

  tenants. The United States need not prove both a “pattern or practice” of discrimination

  and a “denial of rights to a group of persons” in order to prevail. It may show either or

  both.

          The Fair Housing Act allows victims who allege sexual harassment to intervene

  in an action brought by the United States and pursue their own claim for damages.

  However, victims are not required to intervene in an action brought by the United States

  in order to recover damages, and the United States may recover damages both on

  behalf of individuals who did intervene in this action, and individuals who did not

  intervene in this action.

          In the present case, DeAnna Yarbrough and her two minor children, K.B. and

  K.Y., have intervened to pursue individual claims against Defendant Ables. Plaintiff-

  Intervenors allege that Defendant Ables subjected DeAnna Yarbrough to unwelcome,

  severe or pervasive sexual harassment, including creating a sexually hostile housing

  environment, while the Plaintiff-Intervenors resided at a rental property he owned and

  managed. Plaintiff-Intervenors also allege that Defendant Ables subjected DeAnna

  Yarbrough to unwelcome quid pro quo sexual harassment.




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         The United States and the Plaintiff-Intervenors have the burden of proving their

  claims by a preponderance of the evidence, which means they need only prove that

  their claims are more likely true than not true.




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                                  Position of Defendant

        The Defendant denies the claims made by the United States and the Plaintiff-

  Intervenors.




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                       Prohibited Conduct Under the Fair Housing Act

         The Fair Housing Act makes certain conduct unlawful. I am going to provide you

  with examples of conduct that violate the Fair Housing Act. If you find that Defendant

  Chad David Ables has engaged in one or more of these acts by a preponderance of the

  evidence, you must find that he violated the Fair Housing Act.

         First, it is unlawful for an owner or manager of residential rental properties to

  refuse to rent or otherwise make a house unavailable based on the sex of the tenant or

  prospective tenant. The United States and the Plaintiff-Intervenors may show that

  Defendant Chad David Ables violated this provision of the Fair Housing Act in a number

  of ways. For example, if the United States or the Plaintiff-Intervenors could show that

  Defendant Chad David Ables did any one of the following to a female tenant or

  prospective tenant, that is a violation of the Fair Housing Act:

                a.     conditioned the availability of a house, including the rental price,

                       qualification criteria, or standards or procedures for securing the

                       house, on a female prospective tenant’s response to a request to

                       engage in sexual conduct or other sexual harassment; in other

                       words, requiring a female tenant or prospective tenant to engage in

                       sexual conduct, or tolerate sexual harassment, in order to obtain

                       housing, obtain housing at a certain price, or obtain housing under

                       certain conditions; or

                b.     subjected a female tenant to sexual harassment that caused the

                       tenant to move out of her house; or




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                c.     evicted a female tenant, or began eviction proceedings against a

                       female tenant, at least in part, because she would not engage in

                       sexual conduct.

         Second, it is unlawful for an owner or manager of residential rental properties to

  impose different terms, conditions, or privileges related to the rental of a house based

  on sex. The United States and the Plaintiff-Intervenors may establish that a defendant

  violated this provision of the Fair Housing Act in a number of ways. For example, if the

  United States or the Plaintiff-Intervenors have shown that Defendant Chad David Ables

  did any one of the following to a female tenant or prospective tenant, that is a violation

  of the Fair Housing Act:

                a.     conditioned the terms related to the rental of a house, such as the

                       amount of rent or security deposit, on a female tenant or

                       prospective tenant’s response to a request to engage in sexual

                       conduct or other sexual harassment; or

                b.     subjected a female tenant or prospective tenant to sexual

                       harassment that had the effect of imposing different terms,

                       conditions, or privileges related to the rental of a house; or

                c.     entered the house of any female tenant without notice or

                       permission to make unwelcome sexual advances or otherwise

                       sexually harass the female tenant; or

                d.     failed to make or delayed making repairs because a female tenant

                       refused to engage in sexual conduct; or




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                e.     interrupted or shut off household utilities and/or services because a

                       female tenant refused to engage in sexual conduct.

         Third, it is unlawful for an owner or manager of residential rental properties to

  make statements with respect to the rental of a house that indicate any preference,

  limitation, or discrimination based on sex, or that indicate an intent to make any such

  preference, limitation, or discrimination. The United States and the Plaintiff-Intervenors

  may establish that a defendant violated this provision of the Fair Housing Act in a

  number of ways. For example, if the United States or the Plaintiff-Intervenors has shown

  that Defendant Chad David Ables did any one of the following to a female tenant or

  prospective tenant, that is a violation of the Fair Housing Act:

                a.     made an unwelcome request or demand for sexual activity or other

                       sexual conduct with any female tenant or prospective tenant; or

                b.     made an unwelcome comment to any female tenant or prospective

                       tenant that was deliberate and implied any preference, limitation or

                       discrimination based on sex; or

                c.     made any statement, written or oral, that indicates, or indicates an

                       intent to make any preference, limitation, or discrimination based on

                       sex.

         Fourth, it is unlawful to coerce, intimidate, threaten or interfere with any person in

  the exercise or enjoyment of rights granted or protected by the Fair Housing Act. The

  United States and the Plaintiff-Intervenors may establish that a defendant violated this

  provision of the Fair Housing Act in a number of ways. For example, if the United States

  or the Plaintiff-Intervenors has shown that Defendant Chad David Ables did any one of



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  the following to a female tenant or prospective tenant, that is a violation of the Fair

  Housing Act:

                 a.    interfered with a female tenant’s or prospective tenant’s enjoyment

                       of her house by engaging in unwelcome and offensive sexual

                       conduct or by making unwelcome and offensive sexual remarks; or

                 b.    intimidated any female tenant or prospective tenants, through his

                       words or actions, by making unwelcome or offensive sexual

                       remarks or by engaging in unwelcome and offensive sexual

                       conduct; or

                 c.    threatened any female tenant or prospective tenant, if she rejected

                       his sexual advances or did not comply with his sexual requests; or

                 d.    retaliated against any female tenant or prospective tenant, at least

                       in part, because she rejected his sexual advances or did not

                       comply with his sexual requests; or

                 e.    retaliated against any person because that person made a

                       complaint, testified, assisted, or participated in any manner in a

                       proceeding under the Fair Housing Act; or

                 f.    retaliated against any person because that person reported a

                       discriminatory housing practice to a housing provider or other

                       authority.

         Each of these acts that I have described for you is a separate and independent

  violation of the Fair Housing Act. If you find that Defendant Chad David Ables has




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  engaged in one or more of these acts by a preponderance of the evidence, you must

  find that the Defendant has violated the Fair Housing Act.




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                       Sexual Harassment Under the Fair Housing Act

         In this case, the United States and the Plaintiff-Intervenors allege that Defendant

  Chad David Ables violated the federal Fair Housing Act by sexually harassing female

  tenants and prospective tenants. Under the Fair Housing Act, it is unlawful to sexually

  harass female tenants or prospective tenants. The Fair Housing Act also makes it

  unlawful to treat female tenants or prospective tenants differently on the basis of sex in

  a way that affects their use and enjoyment of their home.

         The term “sexual harassment” in this case refers to conduct by a landlord or

  rental manager toward his female tenants or prospective tenants that includes

  unwelcome sexual advances, requests to engage in sexual conduct, other physical

  conduct of a sexual nature, or sexually suggestive comments.

         Unlawful sexual harassment in housing may take one of two forms: (1) sexual

  harassment that creates a “hostile environment” for a female tenant or prospective

  tenant at one of the defendant’s properties, or (2) quid pro quo sexual harassment

  (when a housing benefit is conditioned on sexual activity). The United States’ claims are

  based only on a hostile environment theory. The Plaintiff-Intervenors only need to show

  by a preponderance of the evidence that DeAnna Yarbrough was subjected to either

  hostile environment sexual harassment or quid pro quo sexual harassment. The

  Plaintiff-Intervenors do not need to show that a female tenant or prospective tenant was

  the victim of both hostile environment sexual harassment and quid pro quo sexual

  harassment to show that Defendant Chad David Ables violated the Fair Housing Act.




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                           Hostile Environment Sexual Harassment

          The United States and the Plaintiff-Intervenors may show that Defendant Chad

  David Ables engaged in hostile environment sexual harassment by showing the

  following things with respect to any female tenant or prospective tenant:

          First, that Defendant Chad David Ables subjected a female tenant or prospective

  tenant to verbal or physical sexual advances, requests for sexual activity, sexually

  suggestive comments, and/or other verbal or physical conduct of a sexual nature; and

          Second, that these sexual advances, requests for sexual activity, sexually

  suggestive comments, or other conduct of a sexual nature were based on the tenant’s

  sex; that is, the conduct occurred because the tenant or prospective tenant was female;

  and

          Third, that Defendant Chad David Ables’ conduct was unwelcome; and

          Fourth, that the conduct was sufficiently severe or pervasive that a reasonable

  person in the tenant or prospective tenant’s position would have found that the

  harassment unreasonably interfered with her use, occupancy, or enjoyment of the

  home; and

          Fifth, that the female tenant or prospective tenant herself believed that the

  harassment unreasonably interfered with her use, occupancy, or enjoyment of the

  home.

          If you find that the United States or the Plaintiff-Intervenors have proven these

  elements by a preponderance of the evidence with respect to a particular female tenant

  or prospective tenant, then you must find that Defendant Chad David Ables violated the

  tenant’s rights under the Fair Housing Act.



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          Totality of the Circumstances in Hostile Environment Sexual Harassment

         In determining whether the allegedly sexually harassing conduct created a hostile

  environment for a particular tenant, you should consider the totality of the

  circumstances.

         The factors you should take into account in examining the totality of the

  circumstances include the frequency of the offensive conduct; the severity of the

  offensive conduct; whether the comments or conduct were specifically directed at the

  tenant as opposed to general statements; whether the conduct was humiliating; whether

  the conduct was physically and/or psychologically harmful or threatening; and how the

  Defendant’s conduct affected the tenant’s use and enjoyment of her home.

         The more severe and offensive the conduct, the less frequently it needs to occur

  to create a hostile housing environment. For example, a single incident that involves

  unpermitted, intentional, sexual touching is sufficient to create a hostile environment.

         However, it is not necessary to find physical touching to find a hostile housing

  environment. Verbal conduct alone can create a hostile housing environment. The

  more frequent the episodes of offensive conduct, the less severe they need to be to

  create a hostile environment.

         It is also not necessary to find that offensive comments or conduct caused

  psychological distress to the tenant, or caused economic harm to the tenant, to find a

  hostile housing environment. It is appropriate to consider sexual harassment that a

  tenant experienced firsthand as well as sexual harassment that she observed or

  became aware of that was directed at others.




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                              Quid Pro Quo Sexual Harassment

         Alternatively, or in addition to showing hostile housing sexual harassment, the

  Plaintiff-Intervenors may demonstrate quid pro quo sexual harassment by showing that

  Defendant Chad David Ables did each of the following things with respect to DeAnna

  Yarbrough:

         First, that Defendant Chad David Ables explicitly or implicitly requested or

  demanded that DeAnna Yarbrough engage in sexual conduct in exchange for some

  housing benefit. Examples of housing benefits are: (a) reduced rent or no rent; (b)

  reduced security deposit or no security deposit; (c) allowing a tenant to move into a

  rental or remain in a rental and avoid eviction; (d) repairs or maintenance work; or (e)

  permission to live in a larger or better house without additional cost; and

         Second, that Defendant Chad David Ables’ explicit or implicit request or demand

  was based on DeAnna Yarbrough’s sex; that is, the conduct occurred because DeAnna

  Yarbrough was female; and

         Third, that Defendant Chad David Ables’ conduct was unwelcome; and

         Fourth, that DeAnna Yarbrough either received a housing benefit after she

  engaged in sexual conduct or lost a housing benefit after she refused to engage in

  sexual conduct.

         A single incident involving the conditioning of housing benefits on sexual activity

  is sufficient to establish quid pro quo harassment. If you find that the Plaintiff-

  Intervenors have proven these elements by a preponderance of the evidence with

  respect to DeAnna Yarbrough then you must find that Defendant Chad David Ables

  violated her rights under the Fair Housing Act.



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                    Proof That Harassing Conduct Was Because of Sex

         The United States and the Plaintiff-Intervenors must prove by a preponderance

  of the evidence that Defendant Chad David Ables’ harassing conduct was taken

  because of the tenant or prospective tenant’s sex; in other words, that Defendant Chad

  David Ables’ conduct was targeted at female tenants and prospective tenants. The

  United States and the Plaintiff-Intervenors are not required to show that Defendant

  Chad David Ables harassed each female tenant or prospective tenant solely because of

  her sex, or even primarily because of her sex. You can find that Defendant Chad David

  Ables’s conduct is unlawful and a violation of the Fair Housing Act even if he had other

  legitimate reasons to take an adverse action against a female tenant or prospective

  tenant. For example, if you find that Defendant Chad Ables took an adverse action,

  such as evicting a tenant or prospective tenant, failing to make her repairs, interrupting

  use of household services such as water and air conditioning, or otherwise interfering

  with the female tenant’s rights to enjoyment of her residence because the tenant did not

  give in to his sexual advances or demands, then his action violates the Fair Housing

  Act, even if he had other legitimate reasons for evicting the tenant or failing to make

  repairs.




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                       No Need to File An Administrative Complaint

        There is no requirement for a woman who believes that she has been subjected

  to housing discrimination by a property owner or manager to complain to an

  administrative agency, such as the Department of Housing and Urban Development, a

  local Housing Authority, a state or local Human Rights Commission, or any other

  governmental agency. The United States may seek damages on behalf of a woman

  whom the United States maintains has been sexually harassed in violation of the Fair

  Housing Act, regardless of whether that woman previously filed a discrimination

  complaint.




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                              Pattern or Practice of Harassment

         You must determine whether, through his conduct, Defendant Chad David Ables

  has engaged in a “pattern or practice” of sexual harassment of female tenants and

  prospective tenants in violation of the Fair Housing Act.

         To prove a pattern or practice of sexual harassment, the United States must

  show by a preponderance of the evidence that Defendant Chad David Ables engaged in

  repeated acts of sexual harassment. That means that the United States must prove

  that the sexual harassment was not just an isolated event or an accidental, unintentional

  occurrence, but rather that sexual harassment was a regular practice of Defendant

  Chad David Ables.

         The United States can do this by showing a series of incidents of sexual

  harassment involving female tenants or prospective tenants who lived in or were

  interested in living in the Defendant’s rental housing. There is no required minimum

  number of such incidents that must be proved to show the existence of a pattern or

  practice. Even only a few incidents may indicate that sexual harassment was

  Defendant Chad David Ables’ regular way of managing the rental properties he owned.

         The United States does not need to show that Defendant Chad David Ables

  sexually harassed or violated the rights of all female tenants who lived in his rental

  properties or prospective tenants who were interested in living in his rental properties.

  The United States also does not need to show that Defendant Chad David Ables always

  harassed or violated the rights of female tenants or prospective tenants in exactly the

  same manner.




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        Finally, in determining whether a pattern or practice of harassment or violation of

  the tenants’ rights exists, you must view the evidence as a whole, rather than examining

  each of the incidents separately as if they were unrelated parts.




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                           Denial of Rights to a Group of Persons

         In addition to alleging that Defendant Chad David Ables engaged in a pattern or

  practice of unlawful sexual harassment, the United States has separately alleged that

  Defendant Chad David Ables has denied rights protected by the Fair Housing Act to a

  group of persons, specifically female tenants. Specifically, the United States has

  alleged that by sexually harassing female tenants or prospective tenants based on sex,

  Defendant Chad David Ables denied them the right to housing of their choice free from

  harassment and a hostile housing environment.

         To succeed on this claim, the United States must prove by a preponderance of

  the evidence that the Defendant’s harassing conduct affected more than a single

  individual in connection with the rental of housing.




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                                    Damages - Introduction

  The purpose of the law of damages is to award, as far as possible, just and fair

  compensation for the loss, if any, which resulted from the Defendant’s violation of the

  Plaintiffs’ rights. If you find that the Defendant is liable on one or more of the claims, as

  I have explained them, then you must award the Plaintiffs sufficient damages to

  compensate them for any injury proximately caused by the Defendant’s conduct.




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                    Monetary Damages for the United States Generally

         If you decide that Defendant Chad David Ables violated the Fair Housing Act by

  engaging in a pattern or practice of sexual harassment and/or by denying rights to a

  group of persons based on sex, you must then decide which female tenants or

  prospective tenants identified by the United States were affected by the Defendant’s

  actions. If you determine, by a preponderance of the evidence, that the Defendant

  engaged in “quid pro quo” sexual harassment and/or “hostile environment” sexual

  harassment against a specific female tenant or prospective tenant identified by the

  United States, then you must find that the female tenant or prospective tenant is a victim

  of the Defendant’s discriminatory conduct.

         Under the Fair Housing Act, the United States has the right to seek monetary

  damages on behalf of people who were injured by illegal discrimination. Monetary

  damages mean financial compensation that can be awarded to an injured party. If you

  find the United States has proven that Defendant Chad David Ables sexually harassed

  or discriminated against any or all of the women whose names I will read, you must

  decide what amount of monetary damages, if any, are attributable to the Defendant’s

  conduct.

         The women on whose behalf the United States seeks monetary damages are as

  follows:

             1. Bethany Baggett

             2. Cassandra Patterson

             3. Stephanie S.

             4. Sheila Teague

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           5. Mahkia Serrano

        The United States is seeking two types of monetary damages on behalf of these

  women—compensatory damages and punitive damages. There are different rules that

  apply to each type of damages. That means you must consider each type of damages

  separately for each woman.




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                  Monetary Damages for the Plaintiff-Intervenors Generally

         If you determine, by a preponderance of the evidence, that the Defendant

  engaged in “quid pro quo” sexual harassment and/or “hostile environment” sexual

  harassment against DeAnna Yarbrough, then you must find that DeAnna Yarbrough is a

  victim of the Defendant’s discriminatory conduct.

         Under the Fair Housing Act, the Plaintiff-Intervenors have the right to seek

  monetary damages that result from illegal discrimination. Monetary damages mean

  financial compensation that can be awarded to an injured party. If you find the Plaintiff-

  Intervenors have proven that Defendant Chad David Ables sexually harassed or

  discriminated against DeAnna Yarbrough, you must decide what amount of monetary

  damages, if any, are attributable to the Defendant’s conduct.

         The Plaintiff-Intervenors are seeking two types of monetary damages:

  compensatory damages and punitive damages. There are different rules that apply to

  each type of damages. That means you must consider each type of damages

  separately.




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                             Compensatory Damages – General

         If you find by a preponderance of the evidence that a specific female tenant or

  prospective tenant identified by the United States, or that DeAnna Yarbrough, is a victim

  of Defendant Chad David Ables’ discriminatory conduct, then you must award her

  sufficient damages to compensate her for any harm or injury caused by the Defendant’s

  discriminatory conduct. Compensatory damages seek to make each victim whole —

  that is, to compensate each victim fairly for the harm or injury that she has suffered.

  Compensatory damages are not limited to actual monetary losses and expenses. A

  victim of sex discrimination is also entitled to compensatory damages for any physical

  injury, pain and suffering, or emotional distress that she has suffered because of a

  defendant’s conduct. You will receive separate instructions on the meaning of

  emotional distress and how to determine a monetary value for those injuries.

         Computing compensatory damages may be difficult, but you must not let that

  difficulty lead you to engage in arbitrary guesswork. In all instances, you are to use

  your discretion in fixing an award of compensatory damages, drawing reasonable

  inferences where you deem appropriate from the facts and circumstances in evidence.




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                       Compensatory Damages for Emotional Distress

         As I stated, a victim of sex discrimination is entitled to compensatory damages

  for emotional distress. Examples of such injuries include pain and suffering, mental

  anguish, anxiety, fear, frustration, shock, discomfort, humiliation, intimidation, family

  strain, loss of privacy, loss of sleep, and other emotional distress that she has suffered

  because of Defendant Chad David Ables’ conduct. While I said previously that damages

  must be proved, damages such as emotional distress or mental anguish cannot be

  calculated with mathematical precision. The United States and the Plaintiff-Intervenors

  must only prove the amount of each victim’s emotional distress with as much

  definiteness and accuracy as the circumstances permit. If you find that one or more of

  the victims suffered emotional distress or mental anguish as a result of the Defendant’s

  conduct, you must do your best to determine what is a fair amount that will compensate

  each woman, and the Plaintiff-Intervenors, for the harm they experienced.

         Emotional distress may be inferred from the circumstances as well as

  established through the testimony of witnesses. You may conclude on the basis of a

  woman’s testimony alone that she has experienced emotional distress or mental

  anguish caused by Defendant Chad David Ables’ conduct. You may conclude on the

  basis of DeAnna Yarbrough’s testimony alone that she and her two minor children have

  experienced emotional distress or mental anguish caused by Defendant Chad David

  Ables’ conduct. In addition, you may conclude on the basis of other witnesses’

  testimony that a woman experienced emotional distress or mental anguish, or you may

  infer it from facts in evidence. It is not necessary for any woman to present evidence of




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  economic loss or medical evidence of mental or physical symptoms to receive

  compensatory damages for emotional distress and mental anguish.




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     Additional Factors to Consider in Awarding Compensatory Damages for Emotional
                                          Distress

         In assessing compensatory damages for emotional distress, Defendant Chad

  David Ables is responsible for any damages caused even if some of the female tenants

  or prospective tenants or the Plaintiff-Intervenors were more vulnerable to emotional

  distress than an average person would be. A person who commits a wrongful act is

  liable for damages resulting from any pre-existing mental or physical condition from

  which the victim suffered. In other words, a defendant takes his victims as he finds

  them. If you find the Defendant liable, then he is liable for any harm he caused to a

  female tenant or prospective tenant or the Plaintiff-Intervenors even if that person

  happens to have a fragile psyche and was harmed more than another person might

  have been when experiencing similar conduct.




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                                      Nominal Damages

         If you find by a preponderance of the evidence that a specific female tenant or

  prospective tenant identified by the United States or the Plaintiff-Intervenors are victims

  of Defendant Chad David Ables’ discriminatory conduct, but you find that they did not

  experience any economic damages or any mental anguish, physical harm, emotional

  distress, or other such injuries as a result of the Defendant’s discriminatory conduct, you

  may award them nominal damages, such as $1.00. Nominal damages are awarded to

  vindicate rights, here, the right to seek or live in housing free from harassment or

  discrimination. An award of a nominal damages would not preclude an award of

  punitive damages in an amount as you deem appropriate, if you find that punitive

  damages are justified under the following instructions.




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                                       Punitive Damages

         If you find that Defendant Chad David Ables engaged in a discriminatory housing

  practice, you should next consider whether the victims of that discriminatory practice are

  entitled to an award of punitive damages. An award of punitive damages may be given

  as a punishment for intentional or deliberately reckless conduct. An award of punitive

  damages may also be given to deter the Defendant or members of the community at

  large from committing such misconduct in the future. Accordingly, even if you have

  found that a female tenant or prospective tenant or the Plaintiff-Intervenors suffered no

  actual damages as the result of a discriminatory practice, you may still award punitive

  damages to them.

         Under the Fair Housing Act, you may award punitive damages if you find that

  Defendant Chad David Ables’ acts or omissions were motivated by an intent to

  discriminate. You may also award punitive damages if you find that the Defendant’s

  conduct involved reckless disregard of the rights of the persons on whose behalf the

  United States has filed this lawsuit or the Plaintiff-Intervenors. Conduct is in reckless

  disregard of a victim’s rights if, under the circumstances, the conduct reflects a callous

  indifference to or disregard of the federally protected rights of such individuals. If for

  example, you find that the Defendant had knowledge of the Fair Housing Act but took

  insufficient steps to prevent harm to a victim, you may award punitive damages on this

  basis to that victim. Under the Fair Housing Act, it is not necessary for the United States

  or the Plaintiff-Intervenors show that the Defendant acted with actual malice or evil

  toward the victims.




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         If you find that punitive damages are appropriate under the standard I have just

  articulated, then you must use sound reason in setting the amount of those damages.

  Punitive damages, if any, should be in an amount sufficient to fulfill the purposes that

  have been described to you. However, punitive damages should never reflect bias,

  prejudice, or sympathy toward either party.

         In determining the amount of punitive damages to award to any victim, you

  should consider the following factors for the Defendant: (1) the reprehensibility, if any, of

  the Defendant’s conduct; (2) the impact of the Defendant’s conduct on the victim; (3) the

  connection, if any, between the victim and the Defendant; (4) the relationship of any

  award of punitive damages to the emotional harm that was suffered by the victim; (5)

  what amount of punitive damages, in addition to other damages awarded, is needed to

  punish Defendant Chad David Ables for his wrongful conduct and to deter him and

  others from similar wrongful conduct in the future; and (6) the Defendant’s financial

  condition. If you award punitive damages against the Defendant for more than one

  victim of a discriminatory housing practice, the amounts you award can be the same or

  different for each victim.




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                                           8.01 Introduction


         That concludes the part of my instructions explaining the rules for considering

  some of the testimony and evidence. Now let me finish up by explaining some things

  about your deliberations in the jury room, and your possible verdicts.


         The first thing that you should do in the jury room is choose someone to be your

  foreperson. This person will help to guide your discussions and will speak for you here

  in court.


         Once you start deliberating, do not talk to the jury officer, or to me, or to anyone

  else except each other about the case. If you have any questions or messages, you

  must write them down on a piece of paper, sign them, and then give them to the jury

  officer. The officer will give them to me, and I will respond as soon as I can. I may have

  to talk to the lawyers about what you have asked, so it may take me some time to get

  back to you. Any questions or messages normally should be sent to me through your

  foreperson.


         One more thing about messages. Do not ever write down or tell anyone,

  including me, how you stand on your votes. That should stay secret until you are

  finished.




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          8.02 Experiments, Research, Investigation and Outside Communications

         Remember that you must make your decision based only on the evidence that

  you saw and heard here in court.

         During your deliberations, you must not communicate with or provide any

  information to anyone by any means about this case. You may not use any electronic

  device or media or application, such as a telephone, cell phone, smart phone, iPhone,

  Blackberry, or computer, the Internet, any Internet service, or any text or instant

  messaging service, any Internet chat room, blog, or website such as Facebook,

  MySpace, LinkedIn, YouTube or Twitter, Instagram, WhatsApp, Snapchat or other

  similar electronic service to communicate to anyone any information about this case or

  to conduct any research about this case until I accept your verdict. In other words, you

  cannot talk to anyone on the phone, correspond with anyone, or electronically

  communicate with anyone about this case. You can only discuss the case in the jury

  room with your fellow jurors during deliberations. I expect you will inform me as soon as

  you become aware of another juror’s violation of these instructions.

         You may not use these electronic means to investigate or communicate about

  the case because it is important that you decide this case based solely on the evidence

  presented in this courtroom. Information on the Internet or available through social

  media might be wrong, incomplete, or inaccurate. Even using your smartphones,

  tablets, and computers –and the news and social media apps on those devices – may

  inadvertently expose you to certain notices, such as pop-ups or advertisements, that

  could influence your consideration of the matters you’ve heard about in this courtroom.

  You are only permitted to discuss the case with your fellow jurors during deliberations



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  because they have seen and heard the same evidence you have. In our judicial system,

  it is important that you are not influenced by anything or anyone outside of this

  courtroom. Otherwise, your decision may be based on information known only by you

  and not your fellow jurors or the parties in the case. This would unfairly and adversely

  impact the judicial process. A juror who violates these restrictions jeopardizes the

  fairness of these proceedings, and a mistrial could result, which would require the entire

  trial process to start over.




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                                        8.03 Duty to Deliberate


         Now that all the evidence is in and the arguments are completed, you are free to

  talk about the case in the jury room. In fact, it is your duty to talk with each other about

  the evidence, and to make every reasonable effort you can to reach unanimous

  agreement. Talk with each other, listen carefully and respectfully to each other's views,

  and keep an open mind as you listen to what your fellow jurors have to say. Try your

  best to work out your differences. Do not hesitate to change your mind if you are

  convinced that other jurors are right and that your original position was wrong.


         But do not ever change your mind just because other jurors see things differently,

  or just to get the case over with. In the end, your vote must be exactly that--your own

  vote. It is important for you to reach unanimous agreement, but only if you can do so

  honestly and in good conscience.


         No one will be allowed to hear your discussions in the jury room, and no record

  will be made of what you say. So you should all feel free to speak your minds.




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                                         8.04 Juror Notes

         Remember that if you elected to take notes during the trial, your notes should be

  used only as memory aids. You should not give your notes greater weight than your

  independent recollection of the evidence. You should rely upon your own independent

  recollection of the evidence or lack of evidence and you should not be unduly influenced

  by the notes of other jurors. Notes are not entitled to any more weight than the memory

  or impression of each juror.

         Whether you took notes or not, each of you must form and express your own

  opinion as to the facts of the case.




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                                         8.05 Verdict Form


        I have prepared a verdict form that you should use to record your verdict. The

  form reads as follows: _______.


        After you have reached a verdict, your foreperson will fill in the form that have

  been provided for you, sign and date the form and advise the Court Security Officer that

  you are ready to return to the courtroom.




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                                8.06 Court Has No Opinion

         Let me finish up by repeating something that I said to you earlier. Nothing that

   I have said or done during this trial was meant to influence your decision in any way.




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